          Case 3:13-cv-04706-WHA Document 41 Filed 06/10/14 Page 1 of 2



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 6                                U.S. DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 7                              SAN FRANCISCO DIVISION
 8

     JOHN MARTIN,                                       Case No.: 3:13-CV-04706 WHA
 9
            Plaintiff,                                   STIPULATION TO DISMISS ENTIRE
10                                                       ACTION WITH PREJUDICE
            vs.
11

12   CREDIT               CONSULTING
     SERVICES, INC. an incorporated
13
     business     entity;    EXPERIAN
14   INFORMATION           SOLUTIONS,
     INC.,     an  incorporated  entity;
15   EQUIFAX, INC., an incorporated
     entity; and DOES 1 through 100,
16   inclusive,
17          Defendants.
18
            Plaintiff and the only remaining Defendant (Credit Consulting Services, Inc.) herein stipulate
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     and request this Honorable Court to dismiss, with prejudice, the entire action.
20
     DATED: March 12, 2014
21
     /s/ Jared M. Hartman                         /s/ Andrew Steinheimer
22   Jared M. Hartman                             Andrew Steinheimer
     Attorney for Plaintiff John Martin           Attorney for Defendant CCS
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          Case 3:13-cv-04706-WHA Document 41 Filed 06/10/14 Page 2 of 2



 1                                           COURT ORDER

 2         The parties stipulation to dismiss the action with prejudice is hereby GRANTED.

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 4   IT IS SO ORDERED.

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     Dated: June 10, 2014.
 6                                                       The Honorable William H. Alsup
 7                                                       UNITED STATES DISTRICT JUDGE

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